


  ORDER
 

  Considering respondent’s “Motion For Dissolution of Interim Suspension” pursuant to Supreme Court Rule XIX, § 19.2(D), and considering the response thereto filed by the Office of Disciplinary Counsel,
 

  IT IS ORDERED that the motion be and hereby is denied. Attlah Deniece Burrell, Louisiana Bar Roll number 24764, shall remain suspended from the practice of law on an interim basis pursuant to Supreme Court Rule XIX, § 19.2, pending further orders of this court.
 

  /s/ John L. Weimer JUSTICE, SUPREME COURT OF LOUISIANA
 

  KNOLL, J., recused.
 
